(1 of 4), Page 1 of 4            Case: 24-1261, 01/22/2025, DktEntry: 32.1, Page 1 of 4




                                            NOT FOR PUBLICATION                              FILED
                                     UNITED STATES COURT OF APPEALS                           JAN 22 2025
                                                                                          MOLLY C. DWYER, CLERK
                                                                                           U.S. COURT OF APPEALS
                                             FOR THE NINTH CIRCUIT

              DAVID M. KISSNER,                                  No. 24-1261
                                                                 D.C. No.
                              Plaintiff - Appellant,             3:22-cv-00949-CRB
                v.                                               MEMORANDUM*

              LOMA PRIETA JOINT UNION
              ELEMENTARY SCHOOL DISTRICT; et
              al.,

                              Defendants - Appellees.

                                     Appeal from the United States District Court
                                       for the Northern District of California
                                     Charles R. Breyer, District Judge, Presiding

                                            Submitted January 17, 2025**
                                               Pasadena, California

              Before: TALLMAN, FRIEDLAND, and BENNETT, Circuit Judges.

                        Plaintiff-Appellant David M. Kissner appeals the district court’s grant of

              summary judgment to Defendants-Appellees on Kissner’s First Amendment



                        *
                      This disposition is not appropriate for publication and is not precedent
              except as provided by Ninth Circuit Rule 36-3.
                        **
                       The panel unanimously concludes this case is suitable for decision
              without oral argument. See Fed. R. App. P. 34(a)(2).
(2 of 4), Page 2 of 4            Case: 24-1261, 01/22/2025, DktEntry: 32.1, Page 2 of 4




              retaliation claims with respect to his termination and layoff.1 We review de novo

              the district court’s grant of summary judgment. Ventura Packers, Inc. v. F/V

              Jeanine Kathleen, 305 F.3d 913, 916 (9th Cir. 2002). Viewing the evidence in the

              light most favorable to the nonmoving party (here, Kissner), we determine

              “whether there are any genuine issues of material fact and whether the district

              court correctly applied the relevant law.” Id. We affirm.

                        To succeed on a First Amendment retaliation claim, the plaintiff must first

              show that “(1) he was subjected to an adverse employment action, such as being

              denied a benefit or privilege by [his public employer], (2) he engaged in speech

              that was constitutionally protected because it touched on a matter of public concern

              and (3) the protected expression was a substantial motivating factor for the adverse

              action.” Ulrich v. City & Cnty. of San Francisco, 308 F.3d 968, 976 (9th Cir.

              2002). Once those showings are made,

                        [T]he burden shifts to the public employer to demonstrate either that,
                        under the balancing test established by Pickering v. Bd. of Educ., 391
                        U.S. 563, 568 (1968), its legitimate administrative interests outweighed
                        [Plaintiff’s] First Amendment rights or that, under the mixed motive
                        analysis established by Mt. Healthy City Sch. Dist. v. Doyle, 429 U.S.
                        274, 287 (1977), it would have reached the same decision even in the
                        absence of the plaintiff’s protected conduct.


                        1
                       Arguments not raised clearly and distinctly in the opening brief are
              forfeited. Avila v. Los Angeles Police Dep’t, 758 F.3d 1096, 1101 (9th Cir. 2014).
              Here, the only arguments raised clearly and distinctly in the Opening Brief concern
              Kisser’s First Amendment retaliation claims. Any challenges to the district court’s
              rulings on other claims are therefore forfeited.

                                                         2                                   24-1261
(3 of 4), Page 3 of 4            Case: 24-1261, 01/22/2025, DktEntry: 32.1, Page 3 of 4




              Id. at 976-77 (cleaned up).

                        1. As to Kissner’s termination, even if Kissner made the necessary prima

              facie showing, there is no genuine dispute that Defendants would have terminated

              Kissner even in the absence of Kissner’s protected conduct. Defendants’ reasons

              for terminating Kissner (i.e., that Kissner violated numerous District policies) were

              independent of Kissner’s protected conduct, and there is no genuine dispute that

              Defendants believed those reasons, which overwhelmingly supported terminating

              Kissner’s employment.

                        Kissner argues that Defendants’ reasons for terminating him were false. But

              in assessing whether Defendants’ justifications for terminating Kissner were false,

              “it is not important whether they were objectively false” in the sense of whether

              Kissner actually did what he was accused of doing. Villiarimo v. Aloha Island Air,

              Inc., 281 F.3d 1054, 1063 (9th Cir. 2002). Rather, this court “only require[s] that

              an employer honestly believed its reason for its actions.” Id. (quotation marks and

              citation omitted). Here, Defendants provided evidence of, inter alia, firsthand

              complaints that they received from parents about Kissner’s conduct. Kissner

              provided no countervailing evidence showing that Defendants did not honestly

              believe that those complaints described conduct that had occurred, that Defendants

              did not honestly believe their other proffered reasons for terminating him, or that

              any other teacher subject to similar complaints would not also have been



                                                         3                                24-1261
(4 of 4), Page 4 of 4            Case: 24-1261, 01/22/2025, DktEntry: 32.1, Page 4 of 4




              terminated. There is thus no genuine dispute as to whether Defendants would have

              terminated Kissner regardless of his protected conduct.

                        2. Kissner’s remaining arguments as to his layoff-related claims are

              forfeited because Kissner’s opening brief does not clearly and distinctly challenge

              the district court’s ruling as to Defendants’ liability for Kissner’s layoff. See Avila,

              758 F.3d at 1101. In any event, all of Kissner’s layoff-related claims are precluded

              by a final state court judgment on the merits upholding the legality of Kissner’s

              layoff. Kissner v. Loma Prieta Joint Union Sch. Dist., Nos. H050873, H050947,

              2024 WL 1132173 (Cal. Ct. App. Mar. 15, 2024), as modified on denial of reh’g

              (Apr. 8, 2024), review denied (July 10, 2024); see Intel Corp. v. Advanced Micro

              Devices, Inc., 12 F.3d 908, 915 (9th Cir. 1993) (“[28 U.S.C. § 1738] requires that

              federal courts look to state law to determine the preclusive effect of an earlier state

              judgment.”); Boeken v. Philip Morris USA, Inc., 48 Cal. 4th 788, 797 (2010)

              (explaining that res judicata applies under California law when “(1) [a] claim or

              issue raised in the present action is identical to a claim or issue litigated in a prior

              proceeding; (2) the prior proceeding resulted in a final judgment on the merits; and

              (3) the party against whom the doctrine is being asserted was a party or in privity

              with a party to the prior proceeding” (quotation marks and citation omitted)).

                        AFFIRMED.




                                                         4                                    24-1261
